            Exhibit B




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        Case                                         Facts                                Sentence
United States v. Soufian Guilty following trial. False statements to FBI about          24 months
Amri, No. 1:17-cr-50     friend supporting ISIS and attempting to travel overseas.
(EDVA)                   Also convicted on conspiracy and substantive counts for
                         trying to persuade another witness to refrain from
                         disclosing friend’s ISIS affiliations.
                         Terrorism adjustment applied.
United States v. Michael Guilty following trial. False statements to FBI about          24 months
Queen, 1:17-cr-50        friend supporting ISIS and attempting to travel overseas.
(EDVA)                   Terrorism adjustment applied.
US v. Abdul Khabir       Guilty following trial. Defendant made false statements        67 months
Wahid, No. 2:17-cr-      and tampered with witness in investigation into ISIS-
360 (Ariz)               related attack in Texas. He lied about shooter’s visit two
                         days before the attack and told shooter’s roommate not
                         to talk to FBI or omit information regarding the shooter.
                         Terrorism adjustment applied, because defendant’s
                         actions misdirected investigative assets and delayed
                         investigation’s progress, and failure to recover some
                         evidence that was disposed in the interim.
US v. Bilal Abood, No. Thirty-eight year-old pled to lying to FBI about never           48 months
3:15-cr-256 (NDTX) pledging allegiance to the leader of ISIS, Abu Bakr al-
                         Baghdadi.
                         Without defense objection, applied terrorism adjustment.
US v. Fabjan Alameti, 20-year old pled to two counts of lying to FBI. First, he         57 months
No. 2:19-cr-13           denied any affiliation or support for ISIS and then 10
(Mont.)                  months later again falsely denied about expressing a
                         desire to travel and join ISIS, to hurt people with guns, or
                         to hurt Americans. In conversations with FBI
                         confidential source he considered conducting an attack
                         on the US with potential targets of a government
                         building, gay club, Jewish temple, or US Army recruiting
                         center. Defendant had downloaded a manual for making
                         bombs and shared a chart related to explosions with
                         CHS. Defendant also engaged in shenanigans while being
                         detained.
                         Government objected to exclusion of terrorism
                         adjustment, but after speaking with DC officials,
                         withdrew its objection.
United States v.         Pled guilty to lying to FBI about knowledge of his             96 months
Marchello McCain, No. brother’s plan to travel to Syria and fight with ISIS and
3:15-cr-174 (S.D. Ca) how the brother purchased an airline ticket to Turkey.
                         Agents were investigating brother’s death, because he
                         was the first known American who died fighting for ISIS.
                         Simultaneously sentenced to 120 months for being a
                         felon, convicted of multiple crimes of violence, and in
                         possession of a cache of firearms and body armor.
                         Terrorism adjustment applied.



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United States v.          Lied to FBI in two interviews including that he never         96 months
Mohamad Saeed             worked/volunteered at a Sharia Court, did not know an
Kodaimati, No. 3:15-      ISIS member, and had never been involved in fighting or
cr-1298 (S.D.Ca)          firing a weapon in Syria and second one was for denying
                          communicating to Smith about Al-Nusrah and telling
                          him that he was affiliated with Al-Nusrah in any manner.
                          Sentencing materials were inaccessible, so terrorism
                          adjustment unknown.
US v. Coffmann, No.       Plea to false statements involving international terrorism,   54 months
3:15-cr-16 (EDVA)         where the Defendant falsely denied speaking to anyone
                          who supported ISIS when she connected an individual to
                          ISIS fighters, who then facilitated his travel to Turkey to
                          join ISIS.
                          No terrorism adjustment applied
US v. Abdul Raheem        Defendant, 22-year-old, pled to false statements about        38 months
Habil Ali-Skelton, No.    the existence and duration of his communications with
0:16-cr-77 (Minn.)        Syria-based members of ISIL and use of social media to
                          engage in those communications. Parties agreed that
                          terrorism adjustment applied.
United States v.          Seventeen-year-old tried as an adult for lying about          60 months
Portorreal, No. 1:16-     assisting a friend with traveling to Turkey to join ISIS.     probation
cr-210 (EDVA)             Parties agreed to probation in an 11(c)(1)(C) plea
                          agreement.
US v. Mohammed            Father lied to FBI about his sons’ travels and joining        366 days
Hasnain Ali, No.          ISIS. Entered into an 11(c)(1)(C) plea agreement.
4:17-cr-86 (EDTX)
US v. Sumaiya Ali,        Mother lied to FBI about her sons’ whereabouts and            30 months
No. 4:17-cr-86            affiliation with ISIS. Entered into an 11(c)(1)(C) plea
(EDTX)                    agreement.
US v. Greene, No. 14-     False statements involving international terrorism. FBI       24 months
cr-230 (D.C.)             contract linguist submitted false travel form indicating
                          she was going to Germany to visit family, when she
                          actually traveled to Syria and married an ISIS member
                          whose investigation she was working on.
                          Plea, no terrorism adjustment, received 5K departure
United States v. Masoud   Pled guilty and was given a § 5K departure for assistance.    20 months
Khan, No. 1:19-cr-        Defendant lied to FBI about sending money and
00007 (D.C.)              messages to terrorism propagandist in Jamaica who
                          supported ISIS.
                          Terrorism adjustment was not applied.




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